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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


    RUBY FREEMAN and WANDREA’ MOSS,

                             Plaintiffs,                                     Case No. _____________
            v.                                                                   COMPLAINT
    RUDOLPH W. GIULIANI,

                             Defendant.


                                               INTRODUCTION

           1.      Defendant Rudolph W. Giuliani does not live in Florida. But he is pretending to in

a brazen attempt to shield his luxury Palm Beach condo from his creditors, Plaintiffs Ruby

Freeman and Wandrea’ ArShaye “Shaye” Moss. Unfortunately, this is only the latest of Mr.

Giuliani’s attempts to evade and obstruct accountability for his actions. For two years, Plaintiffs

endured a highly publicized litigation against Rudolph W. Giuliani for orchestrating a years long

defamatory campaign against them, in which Mr. Giuliani had repeatedly accused Plaintiffs of

committing election fraud during the 2020 presidential election in Georgia.1 Finally, on December

15, 2023, a jury of his peers returned a $148 million verdict against Mr. Giuliani for defamation,

intentional infliction of emotional distress, and civil conspiracy in connection with that conduct.

Mr. Giuliani quickly filed for bankruptcy protection in a bad-faith effort to frustrate Plaintiffs’

judgment enforcement efforts. Eventually, the Bankruptcy Court saw through that scheme and

dismissed the bankruptcy case for cause. Mr. Giuliani has now switched tactics again, purporting

to make his Palm Beach condominium (the “Palm Beach Condo”) his principal residence in an

effort to qualify the Condo for homestead protection under Florida law. But that evasive maneuver


1
    See Freeman et al. v. Giuliani, No. 21-cv-3354 (D.D.C.) (“Freeman I”).
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is no more valid than the last few: Mr. Giuliani’s own public internet broadcasts show that he has

not actually resided in the Palm Beach Condo since purporting to establish permanent, actual

residency there—and he certainly has not maintained it as a “homestead.”

       2.      Article X, section 4 of the Florida Constitution protects a person’s “homestead”

from execution to satisfy a judgment. But in the words of the Florida Supreme Court, “the

homestead is not something to toy with and use as a ‘city of refuge’ from the law’s exactions.”

Barlow v. Barlow, 23 So. 2d 723, 723 (Fla. 1945). Thus, a residence does not become a

“homestead” just because a debtor says it is one. Among other things, it “requires actual occupancy

of a home with intention to remain there.” Law v. Law, 738 So. 2d 522, 524 (Fla. Dist. Ct. App.

1999) (internal quotation marks omitted). Mr. Giuliani has established neither. As late as July 9,

2024, it was Mr. Giuliani’s position that the Palm Beach Condo should be sold in chapter 7

liquidation. Then, on July 13, 2024, Mr. Giuliani executed an affidavit purporting to declare that—

never mind—the Palm Beach Condo was his new primary residence. But publicly available

evidence drawn largely from Mr. Giuliani’s daily internet broadcasts shows that he has spent

virtually every day of the period since first claiming that the Palm Beach Condo was his primary

residence—and possibly every day—living somewhere else. As of this filing, the publicly

available evidence shows that Mr. Giuliani has spent at least 34 days of that 47 day period

somewhere else. As for the other days, Plaintiffs are simply unaware of any evidence that Mr.

Giuliani has occupied the Condo, or been physically present in Florida at all. In other words, it

appears that since purporting to declare the Palm Beach Condo as his primary residence, Mr.

Giuliani has not actually resided there at all. Instead, he is trying to “toy with” Florida’s homestead

exemption to shield a multi-million dollar asset from his creditors.




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       3.      Mr. Giuliani’s strategy will fail, because Plaintiffs established a lien on the Palm

Beach Condo on August 8, 2024, and as of that date, Mr. Giuliani had not established the Palm

Beach Condo as his homestead. To be clear, he still has not—but even if he had done so after

August 8, 2024, that would be too late, because under Florida law, “the acquisition of homestead

status does not defeat prior liens,” and therefore “the lienor’s right prevails over the [debtor’s]

homestead right” where the lien existed before homestead status was acquired. Bessemer v.

Gersten, 381 So. 2d 1344, 1348 (Fla. 1980). Plaintiffs’ lien on the Palm Beach Condo therefore

trumps any claim that Mr. Giuliani may make to homestead status, period.

       4.      Plaintiffs accordingly bring this action for a declaratory judgment establishing that

they hold an enforceable lien on the Palm Beach Condo, and that any assertion by Mr. Giuliani of

homestead status is without merit. In a motion filed today in the underlying judgment enforcement

proceeding in this District, Plaintiffs have also sought appointment as receivers with authority to

take possession of and sell the Palm Beach Condo. The declaratory relief sought in this action will

remove any doubt of Plaintiffs’ authority to do so subject only to approval of the Court that made

the receivership appointment, without any interference by Mr. Giuliani’s assertion of a meritless

homestead claim.

                                            PARTIES

       5.      Plaintiff Ruby Freeman is a resident and citizen of Georgia.

       6.      Plaintiff Wandrea’ ArShaye “Shaye” Moss is a resident and citizen of Georgia.

       7.      Defendant Rudolph W. Giuliani is a resident and citizen of New York.

                                JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a)(1) because this action is between citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.


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        9.      This Court has personal jurisdiction over Defendant pursuant to N.Y. C.P.L.R.

§ 301 because he is a New York resident. In addition, this Court has personal jurisdiction over

Defendant pursuant to N.Y. C.P.L.R. § 302(a)(1) because Defendant regularly transacts business

within the state and Plaintiffs’ claims arise from Defendant’s business transactions within New

York, and because Defendant transacts business within New York, and (1) regularly does and

solicits business in the state, (2) engages in a persistent course of conduct in the state, and

(3) derives substantial revenue from goods used or consumed and services rendered in the state.

Furthermore, Plaintiffs’ claims arise from the foregoing contacts with the state of New York.

        10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to this action occurred in this District.

                                               FACTS

        11.     This action arises following more than two years of litigation in the District Court

for the District of Columbia (the “D.C. District Court”) through which Ms. Freeman and Ms. Moss

sought justice for a years long defamatory campaign against them as orchestrated by Mr. Giuliani

and co-conspirators. Ms. Freeman and Ms. Moss first sued Mr. Giuliani, Herring Networks, Inc.

d/b/a One America News Network, Charles Herring, Robert Herring, and Chanel Rion for

defamation, intentional infliction of emotional distress, and civil conspiracy on December 23,

2021. Following a settlement with all parties except Mr. Giuliani, Plaintiffs filed an amended

complaint. A copy of that amended complaint is attached as Exhibit A.

        12.     Following extensive discovery efforts by Plaintiffs and remarkable recalcitrance

from Mr. Giuliani, including a failure to take reasonable steps to preserve relevant evidence, the

D.C. District Court entered a default judgment as to liability against Mr. Giuliani, which had the

effect of deeming as true the factual allegations in the operative complaint in Freeman I. A copy

of the order granting a default judgment as to liability is attached to this Complaint as Exhibit B.


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       13.     On December 11, 2023, the D.C. District Court empaneled a jury to determine

damages, and on December 15, the jury awarded Plaintiffs approximately $148 million in

compensatory and punitive damages. After the parties reached an agreement resolving Defendant’s

claim to setoff, the Court entered final judgment awarding Plaintiffs approximately $146 million

in combined damages and attorney’s fees. A copy of that judgment, registered in this District, is

available at ECF No. 1, Freeman v. Giuliani, No. 24-mc-353 (S.D.N.Y. Aug. 5, 2024).

       14.     Shortly after entering final judgment, the D.C. District Court entered an order

authorizing Plaintiffs to register the judgment in any district of the United States, pursuant to 28

U.S.C. § 1963, citing the “ample record in this case of Giuliani’s efforts to conceal or hide his

assets by failing to comply with discovery requests, including plaintiffs’ requests for financial

information.” Memorandum and Order at 9, Freeman v. Giuliani, 21-cv-3354 (D.D.C. Dec. 20,

2023), ECF No. 144. The D.C. District Court also dissolved Federal Rule of Civil Procedure

62(a)’s automatic 30-day stay of execution. Id.

       15.     The next day, Mr. Giuliani filed a voluntary petition for chapter 11 reorganization.

See In re Giuliani, No. 23-12055-SHL (Bankr. S.D.N.Y. Dec. 21, 2023). That bankruptcy

proceeding lasted just over eight months until the Bankruptcy Court—fed up with Mr. Giuliani’s

continued recalcitrance and disobedience of court orders—dismissed the case. In re Giuliani, ---

B.R. ---, No. 23-12055 (SHL), 2024 WL 3384185 (Bankr. S.D.N.Y. July 12, 2024). Plaintiffs

registered their judgment in this District on August 5, 2024. No. 24-mc-353.

       16.     Mr. Giuliani owns two apartments: (1) a co-op apartment at 45 East 66th Street in

New York, New York, and (2) the Palm Beach Condo, an apartment at 315 South Lake Drive,

Apartment 5D, Palm Beach, Florida. Initially owned by Mr. Giuliani and his ex-wife, Judith, Mr.

Giuliani has been the sole owner of the Palm Beach Condo since January 14, 2020. At all times




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since then, and at all times relevant to this Complaint, Mr. Giuliani has not maintained a principal

residence at his Palm Beach Condo.

       17.     In his initial bankruptcy filings, on January 26, 2024, Mr. Giuliani claimed a portion

of the value of his New York residence as exempt property pursuance to N.Y. CPLR § 5206, which

exempts property “owned and occupied as a principal residence” from “application to the

satisfaction of a money judgment.” At no time did Mr. Giuliani claim any exemption with respect

to the Palm Beach Condo.

       18.     On February 7, 2024, Mr. Giuliani testified under oath in his bankruptcy case, at

the Meeting of Creditors pursuant to Section 341 of the Bankruptcy Code. Mr. Giuliani testified

that he resides at 45 East 66th Street in Manhattan. When asked if he had any other residences,

Mr. Giuliani said that he did, but struggled to recall the address, saying “gosh, I hardly have to use

the address,” and then stating that it was “316, that’s it, okay, South Lake Drive.” (The address of

Mr. Giuliani’s Palm Beach Condo is 315 South Lake Drive).

       19.     In the same sworn testimony, Mr. Giuliani was asked “to approximate how much

time you spend [in New York] versus how much time you spend in Florida,” and responded,

“eighty-twenty, seventy-thirty” in favor of New York. Asked whether he “would say that the New

York residence is your principal residence,” Mr. Giuliani responded, “Yes, it is.”

       20.     On July 1, 2024, Mr. Giuliani filed a motion to convert his bankruptcy case from

chapter 11 (reorganization) to chapter 7 (liquidation), meaning that all of Mr. Giuliani’s non-

exempt assets would be liquidated for the benefit of his creditors, including the Palm Beach Condo.

       21.     Plaintiffs objected and asked the Bankruptcy Court to dismiss the case instead. On

July 10, 2024, Mr. Giuliani filed a notice in the bankruptcy proceeding stating that he consented




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to dismissal of the case. On July 12, 2024, the Bankruptcy Court dismissed the bankruptcy case

rather than convert it to chapter 7, with the order entered on August 2, 2024.

        22.      Throughout the bankruptcy and since, Mr. Giuliani has never actually occupied the

Palm Beach Condo as his primary residence. In fact, since May 26, 2024, Plaintiffs are unaware

of any evidence that Mr. Giuliani has occupied the Palm Beach Condo at all.

        23.      Mr. Giuliani provides regular, public evidence of his physical location when he

broadcasts his daily livestreams shows on the internet. On May 26, 2024 at 10:00 a.m., Mr. Giuliani

broadcast an episode of his show, Uncovering the Truth.2 The background of the video matches

publicly available photographs of Mr. Giuliani’s Palm Beach Condo.3 As far as Plaintiffs are

aware, this is the last time that Mr. Giuliani broadcast from his Palm Beach Condo and the last

time that Mr. Giuliani occupied the Condo in any respect.

        24.      On June 17, 2024, Mr. Giuliani broadcast an episode of The Rudy Giuliani Show

from “here in New York” in front of a background that appears to be his New York condominium.4

        25.      On June 18, 2024 and June 19, 2024, Mr. Giuliani broadcast episodes of The Rudy

Giuliani Show and America’s Mayor Live in front of computer generated backgrounds.5



2
 Rudy W. Giuliani, Uncovering the Truth, Uncovering the Truth (E3): Sunday, May 26, 2024, YouTube (May 26,
2024 10:00 AM EST) https://www.youtube.com/watch?v=ubqPs2b3qrg. Unless otherwise indicated, quotations from
Mr. Giuliani’s broadcasts are Mr. Giuliani’s own words.
3
 Brian Bandell, Rudy W. Giuliani, wife list Palm Beach condo for sale (Photos), The Business Journals, June 12, 2019
1:36 PM EDT, photo 4 of 15 (available at https://www.bizjournals.com/southflorida/news/2019/06/12/rudy-giuliani-
wife-list-palm-beach-condo-for-sale.html).
4
 Rudy W. Giuliani, The Rudy Giuliani Show, The Rudy Giuliani Show (E26): Obama Helps Biden Off Stage,
YouTube, (June 17, 2024 3:00 PM EST) https://www.youtube.com/watch?v=CfVtnvORzko at 0:00–0:04.

5
  Rudy W. Giuliani, The Rudy Giuliani Show, The Rudy Giuliani Show (E27): Illegal Immigration is Destroying
America, YouTube, (June 18, 2024 8:00 PM EST) https://www.youtube.com/watch?v=Lr9OJifA2co; Rudy W.
Giuliani, America’s Mayor Live, America’s Mayor Live (E432): Joe Biden is Getting Worse by the Hour, YouTube,
(June 18, 2024 8:00 PM EST) https://www.youtube.com/watch?v=DDLIOruIztA; Rudy W. Giuliani, The Rudy
Giuliani Show (E28): Honoring Willie Mays—A Giant of New York, YouTube, (June 19, 2024 3:00 PM EST)
https://www.youtube.com/watch?v=c5ejjOe5RZY; Rudy W. Giuliani, America’s Mayor Live, America’s Mayor Live


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        26.     On June 20, 2024, Mr. Giuliani broadcast episodes of The Rudy Giuliani Show and

America’s Mayor Live in front of the same background that was identified the next day, June 21,

2024, as being in New Hampshire.6

        27.     On June 21, 2024, Mr. Giuliani broadcast “from New Hampshire.”7

        28.     On June 24, 2024, Mr. Giuliani again broadcast “from New Hampshire.”8

        29.     On June 25 2024, Mr. Giuliani broadcast America’s Mayor Live in front of the same

background as his June 24, 2024 show and June 26, 2024 show.9

        30.     On June 26, 2024, Mr. Giuliani broadcast “from New Hampshire.”10

        31.     On June 27, 2024, Mr. Giuliani broadcast America’s Mayor Live in front of the

same background as his June 26, 2024 show.11




(E432): Joe Biden is Getting Worse by the Hour, YouTube, (June 19, 2024 8:00 PM EST)
https://www.youtube.com/watch?v=x0lsF09tWVs.
6
 Rudy W. Giuliani, The Rudy Giuliani Show, The Rudy Giuliani Show (E29): Joe Biden’s Con Job on the Border,
YouTube, (June 20, 2024 3:00 PM EST) https://www.youtube.com/watch?v=IqIEUJIe2DI; Rudy W. Giuliani,
America’s Mayor Live, America’s Mayor Live (E434): ELECTION 2024—Previewing Next Week’s Debate Between
Trump & Biden, YouTube, (June 20, 2024 8:00 PM EST) https://www.youtube.com/watch?v=7nkH9Sc7Yqw.
7
  Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E435): ELECTION 2024—
New Polling Reveals New Trends Among Voters, X (June 21, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1804303409044164798 at 0:00–0:14.
8
  Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E436): ELECTION 2024—
Previewing     Thursday’s      Presidential  Debate,    X     (June  24,   2024     8:00   PM     EST)
https://x.com/RudyGiuliani/status/1805390500264132812 at 0:00–0:12.

9
  Rudy W. Giuliani, America’s Mayor Live, America’s Mayor Live (E437): Previewing Thursday Night’s Debate
Between      Trump      &      Biden,     YouTube,     (June     25,     2024      8:00     PM      EST)
https://www.youtube.com/watch?v=i9xM4fK5TWU.

10
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E438): Greatest Moments in
U.S.      Presidential   Debate      History,  YouTube,      (June    26,    2024     8:00    PM     EST)
https://x.com/RudyGiuliani/status/1806115297797284136 at 0:00–0:10.

11
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E439): DEBATE NIGHT IN
AMERICA—Previewing The First 2024 Presidential Debate, X (June 27, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1806477759809810521.


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        32.      On June 28, 2024, Mr. Giuliani broadcast “in New Hampshire” and stated that

“Saint Anslem College,” a college in Manchester, New Hampshire, “is about four miles from

here.”12

        33.      Between July 1, 2024 and July 11, 2024, Mr. Giuliani broadcast multiple episodes

of his shows in front of the same background as his June 28, 2024 and July 12, 2024 shows, which

were identified as taking place in New Hampshire.13



12
   Rudy W. Giuliani, America’s Mayor Live, America’s Mayor Live (E440): A Recap of Joe Biden’s Terrible,
Horrible,   No    Good,    Very   Bad    Day,    YouTube,    (June   28,   2024     8:00   PM     EST)
https://www.youtube.com/watch?v=wJJsC3SYCF4 at 24:19–24:26.
13
  Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E441): Today’s Supreme Court
Ruling UPENDS The Left’s Plan to Take Down Trump, X (July 1, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1807927225490235835; Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani
Show, The Rudy Giuliani Show - Biden Campaign Facing Two Major Disasters as They Chart Path Forward Biden
Campaign Facing Two Major Disasters as They Chart Path Forward - 2 July 2024, X (July 2, 2024 7:00 PM EST)
https://x.com/RudyGiuliani/status/1808274482609770725; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E442): The Biden Campaign Digs in as Democrat Party Falls into Full PANIC MODE,
YouTube, (July 2, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1808289624919625884; Rudy W. Giuliani,
(@RudyGiuliani) The Rudy Giuliani Show, Latest White House Leaks Indicate a Sinking Ship, X (July 3, 2024 7:00
PM EST) https://x.com/RudyGiuliani/status/1808636994865840392; Rudy W. Giuliani, (@RudyGiuliani) America’s
Mayor Live, America’s Mayor Live (E443): Joe Biden Has No Path Forward if He’s Lost the Establishment Media,
X (July 3, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1808652023916835235; Rudy W. Giuliani,
(@RudyGiuliani) America’s Mayor Live, Celebrating 248 Years of American Greatness, X (July 4, 2024 7:00 PM
EST) https://x.com/RudyGiuliani/status/1808999262723989905; Rudy W. Giuliani, (@RudyGiuliani) America’s
Mayor Live, America’s Mayor Live (E444): Celebrating America’s 248th Independence Day, X (July 4, 2024 8:00
PM EST) https://x.com/RudyGiuliani/status/1809014578166317289; Rudy W. Giuliani, (@RudyGiuliani) The Rudy
Giuliani Show, Joe Biden Doubles Down; Promises to Stay in Race, X (July 5, 2024 7:00 PM EST)
https://x.com/RudyGiuliani/status/1809361634135339216; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E445): Joe Biden Doubles Down Despite Growing Calls from Democrats to Bow Out,
X (July 5, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1809376842987762123; Rudy W. Giuliani,
(@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E446): Growing Number of House Democrats
Publicly     Call    on    Biden     to   Drop     Out,    X      (July   8,    2024      8:01     PM      EST)
https://x.com/RudyGiuliani/status/1810464350546858080; Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani
Show, Joe Biden Blames the Media & Party “Elites” for Sabotaging Campaign, X (July 9, 2024 7:00 PM EST)
https://x.com/RudyGiuliani/status/1810811212512526656; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E447): BIDEN WATCH DAY 12—Seventh House Democrat Calls on Biden to Exit Race,
X (July 9, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1810826338305200397; Rudy W. Giuliani,
(@RudyGiuliani) The Rudy Giuliani Show, First Democrat Senator Calls on Joe Biden to Exit Race, X (July 10, 2024
7:00 PM EST) https://x.com/RudyGiuliani/status/1811173574960681258; Rudy W. Giuliani, (@RudyGiuliani)
America’s Mayor Live, America’s Mayor Live (E448): BIDEN WATCH DAY 13—Nancy Pelosi is Preparing to Dump
Joe Biden, X (July 10, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1811188781112025164; Rudy W.
Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Dam Has Broken: Democrats Want Joe Biden OUT, X (July
11, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1811535971965657309; Rudy W. Giuliani,
(@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E449): LIVE REACTION to Joe Biden’s Disastrous
NATO Press Conference, X (July 11, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1811551104909644009;


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        34.      On July 12, 2024, Mr. Giuliani broadcast “live from New Hampshire.”14

        35.      On July 14, 2024, Mr. Giuliani was pictured in Milwaukee, Wisconsin.15 According

to public reporting, Mr. Giuliani flew to Milwaukee from La Guardia airport in New York.16

        36.      On July 15, 2024, Mr. Giuliani broadcast “live from RNC” (the Republican

National Convention),which took place in Milwaukee, Wisconsin.17

        37.      On July 16, 2024 through July 18, 2024, Mr. Giuliani broadcast “live from [the]

RNC” in Milwaukee, Wisconsin.18

        38.      On July 19, 2024, Mr. Giuliani broadcast “live from Milwaukee, Wisconsin.”19




Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Biden’s Disastrous Presser Does Little to Calm Nerves
within Democrat Party, X (July 12, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1811898370266669302.

14
  Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E450): Team Biden Continues
Cover-Up in Desperate Attempt to Save Campaign, X (July 12, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1811913557447147969 at 0:00–0:08.

15
        Ted     Goodman     (@TedCGoodman)       X           (July     14,     2024      11:26      PM       CT)
https://x.com/TedCGoodman/status/1812690153355227380.
16
  Katelyn Polantz, Rudy Giuliani drains half of bank account for personal expenses while creditors pursue what he
owes them, CNN, July 17, 2024 (available at https://www.cnn.com/2024/07/17/politics/rudy-giuliani-
spending/index.html).
17
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X (July
15, 2024 6:59 PM) https://x.com/RudyGiuliani/status/1812985445636317417.
18
  The lower third displayed during Mr. Giuliani’s shows in this period identified him as being “LIVE FROM RNC.”
Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X (July 16,
2024 7:09 PM) https://x.com/RudyGiuliani/status/1813350146907996242; Rudy W. Giuliani, (@RudyGiuliani) The
Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X (July 17, 2024 7:11 PM)
https://x.com/RudyGiuliani/status/1813713279107420399; Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani
Show,      The   Rudy     Giuliani   Show      Live   from      RNC,      X     (July   18,    2024   6:58 PM)
https://x.com/RudyGiuliani/status/1814072255753977941.

19
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E455): President Donald
Trump’s Historic 2024 Republican National Convention, X (July 19, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1814450271197770002 at 0:00–0:08.


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        39.      On July 22, 2024, Mr. Giuliani broadcast from “back in, well, in New Hampshire,

in Manchester, New Hampshire today.”20

        40.      On July 23, 2024 through July 25, Mr. Giuliani broadcast in front of the same

background as his July 22, 2024 show.21

        41.      On July 27, 2024 Mr. Giuliani attended and livestreamed from a conference in

Paris, France.22

        42.      On July 29, 2024, Mr. Giuliani broadcast from “London, England.”23

        43.      On August 1, 2024, Mr. Giuliani broadcast “live from Paris, France.”24




20
   Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Secret Service Director’s Testimony Fuels
“Conspiracy Theories”, X (July 22, 2024, 7:00 PM EST) https://x.com/RudyGiuliani/status/1815522255654498450
at 1:17–1:26.
21
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Biden Is OUT, Kamala is IN, X (July 23, 2024 7:00
PM EST) https://x.com/RudyGiuliani/status/1815884640290496601; Rudy W. Giuliani, (@RudyGiuliani) America’s
Mayor Live, America’s Mayors Live, America’s Mayor Live (E457): Joe Biden Forced Out as Democrat Party Elites
Coronate Kamala Harris, X (July 23, 2024 8:02 PM EST) https://x.com/RudyGiuliani/status/1815900340958744904;
Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Democrat Party “Elites” Coronates Kamala
Harris;     Disenfranchising     Millions   of    Voters,    X     (July  24,      2024    7:21     PM      ET)
https://x.com/RudyGiuliani/status/1816252354028859406; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E458): Democrat Party Elites Install Kamala Harris, Disenfranchising Voters, X (July
24, 2024 8:04 PM) https://x.com/RudyGiuliani/status/1816263277271543865; Rudy W. Giuliani, (@RudyGiuliani)
The Rudy Giuliani Show, Analyzing FBI Director Christopher Wray’s Disastrous Hearing, X (July 25, 2024 7:00 PM
EST) https://x.com/RudyGiuliani/status/1816609402088300567; Rudy W. Giuliani, (@RudyGiuliani) America’s
Mayor Live, America’s Mayor Live (E459): FBI Director Christopher Wray’s Shameful Testimony Before Congress,
X (8:00 PM EST July 25, 2024) https://x.com/RudyGiuliani/status/1816624487753986447.
22
        Rudy      W.      Giuliani,     (@RudyGiuliani)         X      (July     27,      2024,      10:02     AM)
https://x.com/RudyGiuliani/status/1817198946722148398. See also Rudy W. Giuliani, (@RudyGiuliani) X (July 27,
2024, 9:43 AM) https://x.com/RudyGiuliani/status/1817194066334920716 (“I am about to go live to Iranian
dissidents in Paris, Albania and Iran, yes Iran. Listen live on X or later on the live recording.”); Conference with
Mayor Rudy Giuliani on the Anniversary of the Attack on Ashraf by Khamenei’s Puppet Government in Iraq, Maryam
Rajavi, (available at https://www.maryam-rajavi.com/en/conference-mayor-rudy-giuliani-ashraf-attack-july-28-29-
2009/).
23
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Olympics Open Attack on Western Civilization, X
(July 29, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1818058972240429125 at 1:20–1:25.

24
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E464): Biden Admin Gives
Plea Deal to 9/11 Terrorist Khalid Sheikh Mohammed, X (Aug. 1, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1819161212552466941 at 0:00–0:08.


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           44.     Between August 2, 2024 and August 6, 2024, Mr. Giuliani broadcast multiple

shows in front of the same background as his August 7, 2024 show, which was identified as being

“live from the great state of New Hampshire.”25

           45.     On August 5, 2024, Mr. Giuliani confirmed that he was “back from my trip to

France and to England.”26

           46.     Between August 8, 2024 and August 9, 2024, Mr. Giuliani broadcast multiple

shows in front of the same background as his August 7, 2024 show, which he identified as being

broadcast from New Hampshire.27

           47.     On August 12, 2024, Mr. Giuliani broadcast “live in Dallas, Texas.”28



25
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E465): Kamala Harris to
Interview SIX Potential VP Picks This Weekend, X (Aug. 2, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1819523718332535010; Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani
Show,       Decision   Time     for   Kamala    Harris,     X    (Aug.     5,    2024   7:00    PM       EST)
https://x.com/RudyGiuliani/status/1820595684837585364; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E466): Kamala Harris will pick PA Gov. Josh Shapiro or MN Gov. Tim Walz for VP, X
(Aug. 5, 2024 8:00PM EST) https://x.com/RudyGiuliani/status/1820610900635853057; Rudy W. Giuliani,
(@RudyGiuliani) The Rudy Giuliani Show, Kamala Harris Sides w/ Left Flank by Choosing Tim Walz for VP, X
(Aug. 6, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1820958077681856984; Rudy W. Giuliani,
(@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E467): Kamala Harris Picks Tim Walz for Vice
President, X (Aug. 6, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1820973245518291281; Rudy W.
Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E468): Cori Bush of “The Squad” Loses
Primary      Election—2    Voted     Out,  7   To      Go,    X    (Aug.    7,    2024   8:00   PM       EST)
https://x.com/RudyGiuliani/status/1821335593533763840 at 0:00–0:11.
26
     Rudy W. Giuliani, Decision Time for Kamala Harris at 1:17–1:29.

27
   Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Trump Hosts Press Conference That Runs Longer
Than        All   of     Harris’s      Combined,     X      (Aug.       8,     2024        7:00      PM        EST)
https://x.com/RudyGiuliani/status/1821682848304394642; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E469): Trump Takes Reporter’s Questions as Harris Continues to Dodge the Press, X
(Aug. 8, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1821697996599521470; Rudy W. Giuliani,
(@RudyGiuliani) The Rudy Giuliani Show, The Return of ISIS, X (Aug. 9, 2024 7:00 PM EST)
https://x.com/RudyGiuliani/status/1822045236677505208; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E470): Weakness in West Reinvigorates the Islamic State of Iraq & Syria (ISIS), X (Aug.
9, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1822060369768280184.
28
   Rudy W. Giuliani, America’s Mayor Live, America’s Mayor Live (E471): The Democrat Party & Their Media
Allies    are   Protecting    Kamala     Harris,   YouTube,      (Aug.   12,     2024     8:00    PM    EST)
https://www.youtube.com/watch?v=nlFfdhUdwMU at 0:00–0:06; Rudy W. Giuliani, (@RudyGiuliani) America’s
Mayor Live, America’s Mayor Live (E471): The Democrat Party & Their Media Allies are Protecting Kamala Harris,
X (Aug. 12, 2024 8:12 PM) https://x.com/RudyGiuliani/status/1823150624734847122.


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        48.     On August 13, 2024, Mr. Giuliani broadcast “live from downtown Dallas, Texas.”29

        49.     On August 14, 2024, Mr. Giuliani broadcast “live, by the skin of our teeth, from

Manchester, New Hampshire.”30

        50.     On August 15, 2024, Mr. Giuliani broadcast in front of the same background as his

August 14, 2024 show.31

        51.     On August 16, 2024, Mr. Giuliani broadcast “from New Hampshire[.]”32

        52.     From August 19, 2024, to August 22, 2024, Mr. Giuliani broadcast “at the DNC”

in Chicago, Illinois.33

        53.     On August 23, 2024, Mr. Giuliani broadcast “from the Windy City[.]”34




29
  Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E472): Squad Member Ilhan
Omar        Faces   the      Voters    in   Tough     Primary      Election, X     (Aug.     13,   2024)
https://x.com/RudyGiuliani/status/1823509965002383668 at 0:00–0:11.

30
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E473): President Trump
Delivers Home Run Economic Speech as Kamala Dodges Qs, X (Aug. 14, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1823872328964694471 at 0:00–0:17.

31
   Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, JD Vance & Tim Walz Agree to Oct. 1 Debate on
CBS, X (Aug. 15, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1824219563267064207; Rudy W. Giuliani,
(@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E474): Kamala’s Campaign Doctored Headlines
on      Google    to    Create      Fake    Support,   X     (Aug.      15,   2024    8:00    PM     EST)
https://x.com/RudyGiuliani/status/1824234802490511501.
32
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Harris Reverses Clinton Promise to, “End Welfare
as we Know it”, X (Aug. 16, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1824582094997295408 at 1:10–
1:18.
33
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America’s Mayor Live
at the DNC, X (Aug. 19, 2024 7:11 PM EST) https://x.com/RudyGiuliani/status/1825671988372975853; Rudy W.
Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America’s Mayor Live (E477) at
the DNC—Day 2, X (Aug. 20, 2024 7:02 PM EST) https://x.com/RudyGiuliani/status/1826032015873028215; Rudy
W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America’s Mayor Live (E478)
at the DNC—Day 3, X (Aug. 21, 2024 3:44 PM EST) https://x.com/RudyGiuliani/status/1826344553663844827;
Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America’s Mayor Live
(E479)       at    the      DNC—Day        4,    X      (Aug.     22,      2024     6:15     PM       EST)
https://x.com/RudyGiuliani/status/1826745076875493697.

34
       Rudy     W.     Giuliani,    (@RudyGiuliani)    X      (Aug.     23,     2024     8:48    PM      EST)
https://x.com/RudyGiuliani/status/1827145957399548367 (“Join us as we wrap up our week from the Windy City and
the 2024 Democrat National Convention.”).


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        54.     From August 26, 2024 to August 27, 2024, Mr. Giuliani broadcast multiple shows

in front of the same background as his August 16, 2024 show.35

        55.     On August 28, 2024, Mr. Giuliani broadcast “from ‘live free or die,’ New

Hampshire.”36

        56.     On August 29, 2024, Mr. Giuliani broadcast in front of the same background as his

August 28, 2024 show.37

        57.     Meanwhile, on July 15, 2024, Mr. Giuliani filed an “affidavit of domicile” with the

Clerk of Palm Beach County, Florida. A copy of that affidavit is attached hereto as Exhibit C. The

affidavit purports to declare as follows: “I hereby declare that I reside in and maintain a place of

abode at 315 S. Lake Drive, Unit 5D, Palm Beach, in Palm Beach County, Florida, which place of

abode I recognize and intend to maintain as my permanent home and, if I maintain another place

or places of abode in some other state or states, I hereby declare that my above-described residence

and abode in the State of Florida constitutes my predominant and principal home, and I intend to

continue it permanently as such. I am, at the time of making this declaration, a bona fide resident



35
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, President Trump Honors Fallen Heroes of the 2021
Kabul,       Afghanistan     Airport     Attack,   X     (Aug.      26,      2024      7:01     PM      EST)
https://x.com/RudyGiuliani/status/1828206074543120509; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E481): President Trump Honors Fallen Heroes of the 2021 Afghanistan Withdrawal, X
(Aug. 26, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1828221047440843147; Rudy W. Giuliani,
(@RudyGiuliani) The Rudy Giuliani Show, Mark Zuckerberg Admits to Role in Rigging the 2020 Presidential
Election, X (Aug. 27, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1828568380703666178; Rudy W.
Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E482): Mark Zuckerberg Admits
Facebook’s Role in Rigging the 2020 Election, X (Aug. 27, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1828583380965019996.
36
   Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor Live, America’s Mayor Live (E483): Analyzing Kamala
Harris’ Flip Flop on Virtually Every Major Issue, X (Aug. 28, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1828945772966228273 at 0:05–0:11.
37
  Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Contrasting Trump’s Townhall Tonight w/ Kamala’s
Pre-Taped,     “Joint”     Interview    on    CNN,      X      (Aug.   29,    2024    7:00     PM       EST)
https://x.com/RudyGiuliani/status/1829293038637859073; Rudy W. Giuliani, (@RudyGiuliani) America’s Mayor
Live, America’s Mayor Live (E484): Comparing & Contrasting Styles—Trump Townhall v. Harris Joint Interview, X
(Aug. 29, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1829308110735028531.


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of the State of Florida residing at the above described residence and place of abode.” The affidavit

was executed on July 13, 2024, in New Hampshire, and notarized by a New Hampshire notary.

       58.     On August 5, 2024, Plaintiffs registered their judgment in the United States District

Court for the Southern District of Florida. On August 8, 2024, Plaintiffs recorded a certified copy

of that judgment, so registered, with the Clerk of Palm Beach County, together with an affidavit

stating their addresses. Copies of the recorded judgment and affidavit are attached as Exhibit D.

Through that recording, Plaintiffs established a lien for the amount of their judgment on all of Mr.

Giuliani’s real property in Palm Beach County, pursuant to Florida Stat. § 55.10.

       59.     Based on the allegations herein, it appears that after maintaining his New York

apartment as his principal residence for years if not decades, Mr. Giuliani had in fact changed

nothing about his actual or intended residence in the Palm Beach Condo. In fact, since moving on

July 1, 2024 to convert his bankruptcy case to chapter 7 (which would have resulted in the Palm

Beach Condo being liquidated along with other nonexempt assets), and for over a month prior to

that date, it appears that Mr. Giuliani has spent virtually every day since somewhere other than the

Palm Beach Condo—whether residing in New Hampshire at someone else’s home, or on various

trips to the Olympics in Europe or to the Republican and Democratic National Conventions.

Indeed, Plaintiffs have not uncovered any evidence that Mr. Giuliani has even spent one day in the

Palm Beach Condo since late May. As recently as July 1, 2024, Mr. Giuliani intended that the

Palm Beach Condo would be sold in bankruptcy. In the twelve days between that date and when

he executed an affidavit declaring his purported “bona fide” residency in the Palm Beach Condo

and his intention to live there as a principal residence, Mr. Giuliani spent no time there. And since

executing that affidavit, Mr. Giuliani appears to have spent no time there. Most importantly, as of

the date Plaintiffs established their lien on the Palm Beach Condo, Mr. Giuliani had not established




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the Condo as his actual, permanent, or principal residence with an intention to remain there. To

the contrary, Mr. Giuliani had done nothing but file an empty declaration as to nonexistent facts.

                             CAUSE OF ACTION (28 U.S.C. § 2201)

       60.      Plaintiffs incorporate and re-allege all paragraphs as if fully set forth herein.

       61.      This is a case of actual controversy between the parties.

       62.      Plaintiffs established a valid lien on the Palm Beach Condo on August 8, 2024.

       63.      Defendant did not establish his Palm Beach Condo as a homestead within the

meaning of Article X, section 4 of the Florida Constitution prior to the fixing of that lien.

       64.      Plaintiffs’ lien on the Palm Beach Condo is valid and enforceable notwithstanding

any claim that Mr. Giuliani may make to homestead status under the Florida Constitution, and the

Palm Beach Condo may be executed upon and sold in satisfaction of Plaintiffs’ judgment,

including through receivership or other lawful means, notwithstanding any claim that Mr. Giuliani

may make to such homestead status.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request a judgment in their favor and against Defendant:

       A. Declaring that Defendant had not established the Palm Beach Condo as his homestead

             under the Florida Constitution, art. X, § 4, prior to recording of Plaintiffs’ lien on

             August 8, 2024; that Plaintiffs’ lien is valid and enforceable under Florida law and

             immune from any subsequent claim of homestead relating to the Palm Beach Condo;

             and that the Palm Beach Condo may be executed upon and sold to satisfy Plaintiffs’

             judgment through any lawful means, including CPLR § 5228 receivership or other

             appropriate means, regardless of any homestead claim that Defendant may make;

       B. Awarding Plaintiffs’ their costs, including reasonable attorney’s fees; and

       C. Such other and further relief as this Court deems just and proper.


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Dated: August 30, 2024                      Respectfully submitted,

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